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AUG 3 l 2018

 

 

TEXAS, ET AL., Origina| Piaintiffs;
STEPHEN P. WALLACE, Private Attorney Genera|, C;E& &S-DISTRICT COURT
And Al| US Taxpayers adversely affected, y

Deputy
Additiona| P|aintiffs,

 

 

CASE #: 4:18-cv-00167-0
vs. Jury Tria| Demanded
Hon. Judge O’Connor
UN|TED STATES OF AMER|CA, ET AL.
Origina| Defendants;
JOHN S. McCA|N, |ndividua||y;
Additiona| Defendant.

WlTHDRAWL OF EXTRAORD|NARY IVlOT|ON TO lNTERVENE AS MOOT

Respectfu||y submitted via USPS Certified Mai| this [8/28/18] @
USPS #: 7016 3560 0000 9302 4653

R. l. P.

Stephen P. Wa||ace, Private Attorney Genera|
Cc: President Trump, et a|.

CERT|F|CATE of SERVICE

l certify that | forwarded a Verified Copy to Texas Attorney Genera| Paxton for his circulation

to A|| Attorney Genera|’s & to John S. i\/|cCain, Deceased
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